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 5 Attorney for:
   Oscar Andrade
 6
                                    IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                              CASE NO. 2:17-CR-0149 TLN
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                                      Plaintiff,            STIPULATION REGARDING EXCLUDABLE
11                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                            FINDINGS AND ORDER TO CONTINUE CASE
12                                                          TO 4/19/2018 AT 9:30 A.M.
     OSCAR ANDRADE,
13   RIGOBERTO NUNEZ,
     OSCAR RODRIGUEZ,
14                                    Defendants

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                                                        STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, James Conolly, and
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     Defendants Oscar Andrade, represented by Attorney Dina Santos; Defendant Rigoberto Nunez,
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     represented by Attorney Percy Martinez, Defendant Oscar Rodriguez, represented by Attorney David
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     Fischer, hereby stipulate as follows:
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            1.       By previous order, this matter was set for status on February 22, 2018.
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            2.       By this stipulation, defendants now move to continue the status conference until April 19,
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     2018, at 9:30 a.m., and to exclude time between February 22, 2018, and April 19, 2018, under Local
23
     Code T4. Plaintiff does not oppose this request.
24
            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)      Counsel for defendants desire additional time to continue to conduct
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            investigation, and to otherwise prepare for trial. Counsel for defendants believe that failure to
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            grant the above-requested continuance would deny them the reasonable time necessary for
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      Stipulation and Order Continuing Status Conf. &        1
      Excluding Time Periods Under Speedy Trial Act
                 Case 2:17-cr-00149-TLN Document 49 Filed 02/21/18 Page 2 of 3


 1          effective preparation, taking into account the exercise of due diligence. The government does

 2          not object to the continuance. In addition to the time required to continue investigation and

 3          prepare for trial.

 4                   b)      Based on the above-stated findings, the ends of justice served by continuing the

 5          case as requested outweigh the interest of the public and the defendant in a trial within the

 6          original date prescribed by the Speedy Trial Act.

 7                   c)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8          et seq., within which trial must commence, the time period of February 22, 2018, to April 19,

 9          2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

10          T4] because it results from a continuance granted by the Court at defendants request on the basis

11          of the Court’s finding that the ends of justice served by taking such action outweigh the best

12          interest of the public and the defendants in a speedy trial.

13          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

14 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

15 must commence.

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19          IT IS SO STIPULATED.

20 Dated: February 22, 2018                                    MCGREGOR SCOTT
                                                               United States Attorney
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22                                                             /s/ James Conolly
                                                               JAMES CONOLLY
23                                                             Assistant United States Attorney

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25 Dated: February 20, 2018                                /s/ Dina L. Santos
                                                           DINA L. SANTOS, ESQ.
26                                                         Attorney for OSCAR ANDRADE
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      Stipulation and Order Continuing Status Conf. &      2
      Excluding Time Periods Under Speedy Trial Act
              Case 2:17-cr-00149-TLN Document 49 Filed 02/21/18 Page 3 of 3


 1 Dated: February 20, 2018                                  /s/ Percy Martinez
                                                             PERCY MARTINEZ, ESQ.
 2                                                           Attorney for RIGOBERTO NUNEZ

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 4 Dated: February 20, 2018                              /s/ David Fischer
                                                         DAVID FISCHER, ESQ.
 5                                                       Attorney for OSCAR RODRIGUEZ
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 7                                                     ORDER

 8         IT IS SO FOUND AND ORDERED this 21st day of February, 2018.

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12                                                                   Troy L. Nunley
                                                                     United States District Judge
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     Stipulation and Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
